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                                                                                   DANVILLE,VA
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                                         m ffœ                                   JUN 162018
                             U NITED STATES DISTR ICT COU RT                   JULl>C.DUDLG c.tE
                                        FOR Tl'
                                              W
                             W ESTERN DISTRICT OF VIRGINIA
                                                                           BK% EPUWCLERK.
  UNITED STATESOFAMERICA                     ) PETITION FOR W RIT OF HABEAS
                                             1 CORPUSADfROSEQUENDUM
                                             )
                                             )   CriminalNo,4:18-CR-00012=3
                                             )
  TREDARIUSJAMERIQUAN ICEENE                 ) SEALED

         Yourpetitioner,UnitedStatesofAmerica,byRonaldM .Huber,M anagingAssistant
  United StatesAttorney forthe W estem D istrictofV irginia,respectfully show s:'
         1.Thattlliscaseisaprosecution uponan indictmentchargingTitle18United States
  Codej1962(d);1963;1959(a)(5);924(c)(1)(A)(iii);1959(a)(3);1959(a)(1);and924U).
         2.Thatthepresenceofthesaid defendantbeforetheUnited StatesM agis/ateCourtfor
  theW estem DistrictofVirginiaatRoanoke,Virginia,scheduledforaninitialappearanceon
  June14,2018at3. p.    m .ishecessary andheisnow in custody ofDanvilleCityJail,Danville,
  Virginia 24541.*1?@
           .

         W HEREFORE,ydurpetitionerpraysthataW rit0fHabemsCorpusAdPiosequendllm be
  issuedtotheUnited StatesM aishalfortheW estern DistrictofVizginia,öranyotherauthorized
  United StatesM arshal,who shallbdng the defendantbeforethe Courtatthe abovetim e and
               .


  place,

  Dated:6/13/2018                                               '                      ..
                                              s lstantUnited States Attom ey      '
  **+1*******+*+****1*******++*******1         9********+***+**************************

  TO : Danville City Jail,212 Lynn Street,D u ville,V irginia24541
       (434)799-5130
         IN THE EVENT THIS IN M ATE IS TO BE TRANSFERRED TO ANOTHER
  FACILITY BEFORE THE REQUESTED DATE OFAPPEAM NCE,PLEASENOTIFY TllE
  ASSISTANTU.$.ATTORNEYLISTEDABOVEAT/34)293-4283.
  GREETEqOS:

         W E COM MAND Y0U thatyousurrenderthebodyof'
                                                   IREDARIUSJAMERIQUAN
 'KEENE detained intheDmwilleCity Jail,tmderyourcustody asitissaid,totheUnited States'
  M arshalforthe W estem D istrictofV irginia,orTask Force OffcerM ichaelTillm an,Federal


                                                1

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   Bureau ofInvestigation,and anotherdeputized agent,whoshallbringthedefendantbefoiethe
   Courtattheabovetim eandplace,totheendthathisbody willbebeforetheUnited States
  MagistrateCoy3'
                g*foprtheWesternDistrictofVirginia,atRoanok
                                                          .e,Virginia,onthe14thdyyof
  Jlme,2018,at m.,oratsuchothertimeortimesastheMagiskateCourtmaydirecj.
                      .

         ENTER:Tllis41Y dayofJune2018.                                          '
                                                                           :          !
                                                         '
                                                               lted StatesM agis   Judge
  **9******$******1********$********1****************$**17***************#'******

         T0 THE UNITED STATESM ARSHAL FOR THE W ESTERN DISTRICT
         0F VIRGN A ,O R AN Y A UTHOW ZED UN ITED STA TES M ARSH AL;

         TO BXECUTZ:

         WE COM MAND thatyouproceebtotheDanvilleCityJailandremovetherefromlthe
  bodyofTREDAMUSJAMERIQUANKEENEandproducehimtmdersafeandsecurecjnduct
  beforetheUnitedStatesMagistrateCourtfo(teWesternDistrictofVirginiw atRoanokù,
  Virginia,on the 14th day of Jtme,2018,at . 'p.m .,oratsuch othertimeortimesasthe.
  M agistrate Courtm ay direct.                                                   1

                                                             JULIA C.D UD LEY
                                                             CLERK OF COU RT

                                                             BY:kDesputy Clerk J
  CU STODY A SSU M ED :

  EXECUTED tbis              #ayofJune,2018.

               BY :
                          United StatesM arshao eputy
  RETURN ED :

  EX ECU TED this             day of Jupe,2018.

               BY :
                          U nhed StatesM arshal/Deputy

  SENTENCED STATE PM SONER: No



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